         Case 2:24-cr-00105-WBV-JVM            Document 298-8         Filed 05/19/25     Page 1 of 3

    From:                     <     @kinginjuryfirm.com>
       To: Jason Giles <jgiles@kinginjuryfirm.com>
      Cc:              <      @kinginjuryfirm.com>
  Subject: Re: Opposition to Motion to Continue Trial_Leon Parker - Invitation to edit
     Date: Sun, 06 Jan 2019 22:04:53 +0000


Defendants then reference Cornelius Garrison as a man that has been in contact with a number of people on the
dates of their respective accidents.

Took out the reference to Parker completely.


Attorney
The King Firm
2912 Canal Street
New Orleans, LA 70119
Main: 504-909-5464
Fax: 800-901-6470
      @kinginjuryfirm.com


On Sun, Jan 6, 2019 at 4:01 PM Jason Giles <jgiles@kinginjuryfirm.com> wrote:
 Associate too strong of a word.

  On Sun, Jan 6, 2019 at 4:01 PM                         @kinginjuryfirm.com> wrote:
   Not sure what else to call him. Leon knows him and buys clothes from the guy.


    Attorney
    The King Firm
    2912 Canal Street
    New Orleans, LA 70119
    Main: 504-909-5464
    Fax: 800-901-6470
          @kinginjuryfirm.com


    On Sun, Jan 6, 2019 at 3:59 PM                      @kinginjuryfirm.com> wrote:
     I had some thoughts / suggestions that are in the document next time you look at it. Main concern is, do
     we want to call Garrison an "associate" of the client's.

      On Sun, Jan 6, 2019 at 3:51 PM                    <       @kinginjuryfirm.com> wrote:
       Sounds like a plan


        Attorney
        The King Firm
                                                                                                GOVERNMENT
        2912 Canal Street                                                                         EXHIBIT
        New Orleans, LA 70119
        Main: 504-909-5464                                                                            F
        Fax: 800-901-6470


                                                                                                 US-072-00241657
     Case 2:24-cr-00105-WBV-JVM                   Document 298-8             Filed 05/19/25   Page 2 of 3
         @kinginjuryfirm.com


     On Sun, Jan 6, 2019 at 3:44 PM Jason Giles <jgiles@kinginjuryfirm.com> wrote:
      Let's talk tonight about Fey.

       On Sun, Jan 6, 2019 at 3:43 PM                             (via Google Docs) <drive-shares-
       noreply@google.com> wrote:



                   jimmy@kinginjuryfirm.com has invited you to edit the following document:

                        Opposition to Motion to Continue Trial_Leon Parker



                     Unk       This opposition is due tomorrow. Let me know your thoughts. I have the Fey
                   nown        depo at 10 then a doc depo at 4.
                   profile
                               Thanks,




                    Open in Docs




               Google Docs: Create and edit documents online.
                                                                                                Logo for
               Google LLC, 1600 Amphitheatre Parkway, Mountain View, CA 94043, USA
                                                                                              Google
                                                                                              Docs
               You have received this email because someone shared a document with you from
               Google Docs.




       --
       Jason F. Giles
       The King Firm
       2912 Canal St.
       New Orleans, LA 70119
       Main Line 504-909-KING
       Direct Dial 504-304-2361



--

The King Firm, LLC
2912 Canal Street
New Orleans, Louisiana 70119
Phone 504-909-5464



                                                                                                     US-072-00241658
      Case 2:24-cr-00105-WBV-JVM   Document 298-8   Filed 05/19/25   Page 3 of 3
   Direct Dial 504-304-2360
   Fax 800-901-6470


--
Jason F. Giles
The King Firm
2912 Canal St.
New Orleans, LA 70119
Main Line 504-909-KING
Direct Dial 504-304-2361




                                                                           US-072-00241659
